                                                                              Case 3:17-cv-00939-WHA Document 2010 Filed 10/17/17 Page 1 of 13



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,
                                                                         10                  Plaintiff,                                     No. C 17-00939 WHA
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES INC.,                                       TENTATIVE JURY
                                                                         13   OTTOMOTTO, LLC, and                                           INSTRUCTIONS
                                                                              OTTO TRUCKING LLC,                                            ON TRADE SECRET
                                                                         14                                                                 MISAPPROPRIATION
                                                                                             Defendants.
                                                                         15                                        /

                                                                         16          Please find below tentative jury instructions and a special verdict form on the
                                                                         17   misappropriation issue. By NOON ON OCTOBER 24, counsel shall please submit a critique plus
                                                                         18   any proposed additions. By NOON ON OCTOBER 27, each side shall please submit a “counter
                                                                         19   critique.” Please quote the entire paragraph of any authority you contend supports or
                                                                         20   contradicts each tentative instruction or verdict question and highlight the key language from
                                                                         21   within the quote. Quote only authority that remains good law (please double check). The
                                                                         22   critique shall be limited to ten pages (no attachments) and the counter critique to five pages (no
                                                                         23   attachments), limits intended to encourage concentration on the items of most concern.
                                                                         24   Opportunity will be allowed later to make all other objections. Use normal font (12) and only
                                                                         25   double spacing except block quotations may be single-spaced. Counsel are invited to please
                                                                         26   meet and confer to iron out differences and to stipulate that the instructions shall, to avoid jury
                                                                         27   confusion, cover both federal and state law without distinction. Refer to the proposals as, for
                                                                         28   example, “TJI#2,” meaning “Tentative Jury Instruction No. 2.”
                                                                              Case 3:17-cv-00939-WHA Document 2010 Filed 10/17/17 Page 2 of 13



                                                                          1                                                   I.
                                                                          2          This trial concerns Alleged Trade Secrets Numbers 2, 7, 9, 13, 14, 25, 90, 96 and 111,
                                                                          3   which are described in TX _____.
                                                                          4                                                   II.
                                                                          5          To succeed on its claim that a defendant misappropriated one or more trade secrets,
                                                                          6   Waymo must prove all of the following:
                                                                          7                  1.      That the Alleged Trade Secret qualified as an enforcible trade
                                                                          8                          secret at the time it was allegedly misappropriated;
                                                                          9                  2.      That defendant improperly acquired, then used or disclosed the
                                                                         10          Alleged Trade Secret;
                                                                         11                  3.      That defendant was thereby unjustly enriched; and
United States District Court
                               For the Northern District of California




                                                                         12                  4.      That such use or disclosure was a substantial factor in unjustly
                                                                         13          enriching the defendant.
                                                                         14   No defendant may be held liable as to any Alleged Trade Secret unless all of these elements of
                                                                         15   proof are satisfied as to that defendant and as to that Alleged Trade Secret. I will now explain
                                                                         16   these elements of proof in more detail.
                                                                         17                                                   III.
                                                                         18          Turning to the first element of proof for a misappropriation claim, Waymo must prove
                                                                         19   that each Alleged Trade Secret qualified as an enforcible trade secret at the time of alleged
                                                                         20   misappropriation. To do so, Waymo must prove all of the following:
                                                                         21                  1.      That Waymo owned the Alleged Trade Secret;
                                                                         22                  2.      That the Alleged Trade Secret was secret at that time;
                                                                         23                  3.      That the Alleged Trade Secret had actual or potential
                                                                         24          independent economic value at that time because it was secret; and
                                                                         25                  4.      That Waymo made reasonable efforts up to the alleged
                                                                         26          misappropriation to keep the Alleged Trade Secret.
                                                                         27           I will now explain these factors in more detail.
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                                                                          1                                                    IV.
                                                                          2          The secrecy required to prove that something is a trade secret does not have to be
                                                                          3   absolute secrecy in the sense that no one else in the world possessed the information. It may
                                                                          4   have been disclosed to employees involved in the owner’s use of the trade secret as long as they
                                                                          5   were instructed to keep the information secret. It may also have been disclosed to nonemployees
                                                                          6   if they were obligated to keep it secret. However, it must not have been generally known to the
                                                                          7   public or to people who could have obtained value from knowing it.
                                                                          8                                                    V.
                                                                          9          Generalized knowledge and skill that an employee learns on the job cannot qualify as a
                                                                         10   trade secret. Matters of general knowledge in a trade or special knowledge of persons who are
                                                                         11   skilled in a trade cannot be claimed as trade secrets.
United States District Court
                               For the Northern District of California




                                                                         12                                                    VI.
                                                                         13          Information that is readily ascertainable by proper means at the time of the alleged
                                                                         14   misappropriation cannot qualify as a trade secret. There is no fixed standard for determining
                                                                         15   what is “readily ascertainable by proper means.” In general, information is readily ascertainable
                                                                         16   if it can be obtained, discovered, developed, or compiled without significant difficulty, effort, or
                                                                         17   expense. For example, information is readily ascertainable if it is available in trade journals,
                                                                         18   reference books, or published materials. On the other hand, the more difficult information is to
                                                                         19   obtain, and the more time and resources that must be expended in gathering it, the less likely it is
                                                                         20   that the information is readily ascertainable by proper means.
                                                                         21                                                   VII.
                                                                         22          A trade secret has independent economic value if it would have given the owner an actual
                                                                         23   or potential business advantage over others who did not know the information and who could
                                                                         24   have obtained economic value from its disclosure or use. In determining whether the
                                                                         25   information had actual or potential independent economic value because it was secret, you may
                                                                         26   consider the following:
                                                                         27                  1.      The extent to which the owner obtained or could have obtained
                                                                         28          economic value from the information in keeping it secret;


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                                                                          1                    2.    The extent to which others could have obtained economic value
                                                                          2          from the information if it were not secret;
                                                                          3                    3.    The amount of time, money, or labor that the owner expended in
                                                                          4          developing the information; and
                                                                          5                    4.    The amount of time, money, or labor that defendant saved by
                                                                          6          using the information.
                                                                          7          The presence or absence of any one or more of these factors is not necessarily
                                                                          8   determinative.
                                                                          9                                                  VIII.
                                                                         10          Reasonable efforts to keep the information secret are the efforts that would have been
                                                                         11   made by a reasonable business in the same situation with the same knowledge and resources
United States District Court
                               For the Northern District of California




                                                                         12   as the alleged owner, exercising due care to protect important information of the same kind.
                                                                         13   This requirement applies separately to each item that claimed to be a trade secret.
                                                                         14          In determining whether or not the owner made reasonable efforts to keep the information
                                                                         15   secret, the following factors should be considered, among any other factors pertinent to the issue:
                                                                         16                    1.    Whether products, hardware, documents or computer files
                                                                         17          containing the information were marked with confidentiality warnings;
                                                                         18                    2.    Whether the owner instructed its employees to treat the
                                                                         19          information as confidential;
                                                                         20                    3.    Whether the owner unreasonably over-classified information as
                                                                         21          confidential, even publicly known information, such that employees might be
                                                                         22          unsure of what genuinely needed confidentiality;
                                                                         23                    4.    Whether the owner restricted access to the information to
                                                                         24          persons who had a business reason to know the information;
                                                                         25                    5.    Whether the owner kept the information in a restricted or
                                                                         26          secured area;
                                                                         27                    6.    Whether the owner required employees or others with access to
                                                                         28          the information to sign confidentiality or nondisclosure agreements;


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                                                                              Case 3:17-cv-00939-WHA Document 2010 Filed 10/17/17 Page 5 of 13



                                                                          1                    7.     Whether the owner took any action to protect the specific
                                                                          2          information, or whether it relied on general measures taken to protect its
                                                                          3          business information or assets;
                                                                          4                    8.     The extent to which any general measures taken by the owner
                                                                          5          would prevent the unauthorized disclosure of the information; and
                                                                          6                    9.     Whether there were other reasonable measures available to the
                                                                          7          owner that it did not take.
                                                                          8          The presence or absence of any one or more of these factors is not necessarily
                                                                          9   determinative.
                                                                         10                                                    IX.
                                                                         11                    Turning to the third element of proof for a misappropriation claim, a defendant
United States District Court
                               For the Northern District of California




                                                                         12   misappropriates an Alleged Trade Secret if that defendant used it or disclosed it without the
                                                                         13   owner’s consent and either acquired knowledge of the trade secret by improper means or at the
                                                                         14   time of use, knew or had reason to know that its knowledge of the trade secret came through
                                                                         15   persons who had acquired it by improper means.
                                                                         16                                                    X.
                                                                         17          Improper means of acquiring a trade secret or knowledge of a trade secret include, but are
                                                                         18   not limited to, theft, misrepresentation, breach or inducing a breach of a duty to maintain
                                                                         19   secrecy. It is not improper, however, to acquire a trade secret or knowledge of the trade secret
                                                                         20   by any of the following:
                                                                         21                    1.     Independent efforts to invent or discover the information;
                                                                         22                    2.     Reverse engineering; that is, examining or testing a product to
                                                                         23          determine how it works by a person who has a right to possess the product;
                                                                         24                    3.     Observing the information in public use or on public display; or
                                                                         25                    4.     Obtaining the information from published literature, such as
                                                                         26          trade journals, reference books, the Internet, or other publicly available
                                                                         27          sources.
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                                                                          1                                                    XI.
                                                                          2          Misappropriation by use requires actual use. It is not enough to speculate that employees
                                                                          3   of the accused would inevitably have used the claimed trade secret in their work.
                                                                          4                                                    XII.
                                                                          5          You have heard evidence that the law firm of Morrison & Foerster and/or the forensic
                                                                          6   analytics firm of Stroz Friedberg LLC received Alleged Trade Secrets in connection with Uber’s
                                                                          7   acquisition of Ottomotto LLC. Under the law, if Waymo proves that one or both of these firms
                                                                          8   acquired such a trade secret as an agent of a defendant, then you must treat that trade secret as
                                                                          9   having been acquired by that defendant unless it is proven that such firm was under an obligation
                                                                         10   not to disclose the trade secret to that defendant.
                                                                         11                                                   XIII.
United States District Court
                               For the Northern District of California




                                                                         12          You have heard testimony that employees of Uber, Ottomotto, and Otto Trucking once
                                                                         13   worked for Google and/or Waymo. The mere fact that employees left Google or Waymo to work
                                                                         14   for a defendant does not mean that they used Waymo’s trade secrets after they left Google or
                                                                         15   Waymo. Employees have the right to change employers and to apply their talents and skills in
                                                                         16   their new jobs. Doing so is lawful as long as they don’t reveal or use information qualifying as a
                                                                         17   trade secret of a prior employer.
                                                                         18                                                   XIV.
                                                                         19          Turning to the fourth element of proof of a misappropriation claim, unjust enrichment
                                                                         20   occurs whenever a defendant reaps an undeserved benefit such as accelerating its own
                                                                         21   development timeline by taking improper advantage of someone else’s trade secrets. Unjust
                                                                         22   enrichment does not occur, however, where the benefit would have been realized anyway.
                                                                         23                                                    XV.
                                                                         24          A substantial factor in causing unjust enrichment means a factor that a reasonable person
                                                                         25   would consider to have contributed to the unjust enrichment. It must be more than a remote or
                                                                         26   trivial factor. It does not have to be the only cause. Conduct is not a substantial factor in
                                                                         27   causing unjust enrichment if the same enrichment would have occurred without that conduct.
                                                                         28


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                                                                          1                                                 XVI.
                                                                          2          If you find any defendant misappropriated one or more Alleged Trade Secrets, then you
                                                                          3   must decide whether Waymo has proven a dollar value for the unjust enrichment by that
                                                                          4   defendant.
                                                                          5                                                XVII.
                                                                          6          Measure of recovery (counsel to supply).
                                                                          7                                                XVIII.
                                                                          8          If you find any defendant misappropriated one or more Alleged Trade Secrets and you
                                                                          9   decide that that defendant was able to shorten its development timeline by reason of the
                                                                         10   misappropriation, then please determine the number of days by which Waymo has proven, if it
                                                                         11   has, the timeline was shortened.
United States District Court
                               For the Northern District of California




                                                                         12                                                 XIX.
                                                                         13          If you find any defendant misappropriated one or more Alleged Trade Secrets, then you
                                                                         14   must decide whether that defendant’s conduct was willful and malicious. If you so find, then
                                                                         15   you must determine what amount of exemplary damages Waymo should recover from that
                                                                         16   defendant. Exemplary damages are intended to punish the defendant and to deter
                                                                         17   misappropriation of trade secrets. You may determine an amount of exemplary damages up to
                                                                         18   two times the amount awarded as the unjust enrichment.
                                                                         19
                                                                         20          IT IS SO ORDERED.
                                                                         21
                                                                         22   Dated: October 17, 2017.                                    DRAFT
                                                                                                                                    WILLIAM ALSUP
                                                                         23                                                         UNITED STATES DISTRICT JUDGE
                                                                         24
                                                                         25
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                                                                          5                          IN THE UNITED STATES DISTRICT COURT
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                                                                                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
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                                                                          9   WAYMO LLC,
                                                                         10                 Plaintiff,                                No. C 17-00939 WHA
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES INC.,                                 TENTATIVE SPECIAL
                                                                         13   OTTOMOTTO, LLC, and                                     VERDICT FORM (ON
                                                                              OTTO TRUCKING, LLC,                                     MISAPPROPRIATION CLAIMS)
                                                                         14                 Defendants.
                                                                         15                                        /

                                                                         16          In answering this special verdict form, please refer to the Alleged Trade Secrets by their
                                                                         17   numbers as assigned in Trial Exhibit _____. Your answers must be unanimous to all applicable
                                                                         18   questions.
                                                                         19
                                                                         20          1.     Has Waymo proven defendants improperly acquired one or more of the Alleged
                                                                         21   Trade Secrets? Answer separately as to each defendant. If you answer “Yes” below as to any
                                                                         22   defendant, please specify which Alleged Trade Secret(s) by number were misappropriated by that
                                                                         23   defendant.
                                                                         24
                                                                         25                                    UBER TECHNOLOGIES, INC.

                                                                         26                 _____ YES, UBER TECHNOLOGIES, INC., ACQUIRED IMPROPERLY THE
                                                                                                  FOLLOWING ALLEGED TRADE SECRET(S): __________________
                                                                         27                       ____________________________________________________.
                                                                         28                 _____ NO, NOT PROVEN AS TO UBER TECHNOLOGIES, INC.

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                                                                              Case 3:17-cv-00939-WHA Document 2010 Filed 10/17/17 Page 9 of 13



                                                                          1
                                                                          2                                         OTTOMOTTO, LLC
                                                                          3                   _____ YES, OTTOMOTTO, LLC, ACQUIRED IMPROPERLY THE FOLLOWING
                                                                          4                         ALLEGED TRADE SECRET(S): ____________________________
                                                                                                    ____________________________________________________.
                                                                          5
                                                                                              _____ NO, NOT PROVEN AS TO OTTOMOTTO, LLC.
                                                                          6
                                                                          7                                       OTTO TRUCKING, LLC
                                                                          8                   _____ YES, OTTO TRUCKING, LLC, ACQUIRED IMPROPERLY THE
                                                                                                    FOLLOWING ALLEGED TRADE SECRET(S): __________________
                                                                          9
                                                                                                    ____________________________________________________.
                                                                         10
                                                                                              _____ NO, NOT PROVEN AS TO OTTO TRUCKING, LLC.
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                                     If you answer “No” as to all defendants, you are done — go to the end and sign and date
                                                                         13
                                                                              the Special Verdict Form. Otherwise, go to the next question. If you answer “No” as to only
                                                                         14
                                                                              some defendants, then you should ignore those defendants for the rest of the form.
                                                                         15
                                                                         16
                                                                                     2.       With respect to any defendant for whom you answered “Yes” in the prior question
                                                                         17
                                                                              and only as to the Alleged Trade Secret(s) you listed beside their name(s), has Waymo proven
                                                                         18
                                                                              that any such defendant used or disclosed such Alleged Trade Secret(s)? If you answer “Yes”
                                                                         19
                                                                              as to any defendant(s), please identify which Alleged Trade Secret(s) so used or disclosed by that
                                                                         20
                                                                              defendant(s).
                                                                         21
                                                                         22                                    UBER TECHNOLOGIES, INC.
                                                                         23                   _____ YES, UBER TECHNOLOGIES, INC., USED OR DISCLOSED THE
                                                                                                    FOLLOWING ALLEGED TRADE SECRET(S): __________________
                                                                         24
                                                                                                    ____________________________________________________.
                                                                         25
                                                                                              _____ NO, NOT PROVEN AS TO UBER TECHNOLOGIES, INC.
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                                                                          1                                         OTTOMOTTO, LLC
                                                                          2                  _____ YES, OTTOMOTTO, LLC, USED OR DISCLOSED THE FOLLOWING
                                                                          3                        ALLEGED TRADE SECRET(S): ____________________________
                                                                                                   ____________________________________________________
                                                                          4          .
                                                                                             _____ NO, NOT PROVEN AS TO OTTOMOTTO, LLC.
                                                                          5
                                                                          6
                                                                                                                  OTTO TRUCKING, LLC
                                                                          7
                                                                                             _____ YES, OTTO TRUCKING, LLC, USED OR DISCLOSED THE
                                                                          8                        FOLLOWING ALLEGED TRADE SECRET(S): __________________
                                                                          9                        ____________________________________________________.
                                                                         10                  _____ NO, NOT PROVEN AS TO OTTO TRUCKING, LLC.
                                                                         11
United States District Court




                                                                                     If you answered “No” for all defendants, you are done and should go to the end and sign
                               For the Northern District of California




                                                                         12
                                                                         13   and date the Special Verdict Form. Otherwise, go to the next question.
                                                                         14
                                                                         15          3.      As to each Alleged Trade Secret you find was used or disclosed by any
                                                                         16   defendant(s) in answer to the prior question and only as to those (leave the others blank), has
                                                                         17   Waymo proven that, at the time of the alleged misappropriation, they qualified as enforcible trade
                                                                         18   secrets?
                                                                         19                                                            YES                     NO
                                                                         20          ALLEGED TRADE SECRET NO. 2                     __________             __________
                                                                         21          ALLEGED TRADE SECRET NO. 7                     __________             __________
                                                                         22          ALLEGED TRADE SECRET NO. 9                     __________             __________
                                                                         23          ALLEGED TRADE SECRET NO. 13                    __________             __________
                                                                         24          ALLEGED TRADE SECRET NO. 14                    __________             __________
                                                                         25          ALLEGED TRADE SECRET NO. 25                    __________             __________
                                                                         26          ALLEGED TRADE SECRET NO. 90                    __________             __________
                                                                         27          ALLEGED TRADE SECRET NO. 96                    __________             __________
                                                                         28          ALLEGED TRADE SECRET NO. 111                   __________             __________


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                                                                              Case 3:17-cv-00939-WHA Document 2010 Filed 10/17/17 Page 11 of 13



                                                                          1           If you answer “No” as to all Alleged Trade Secrets, then you are done — go to the end
                                                                          2   and sign and date the Special Verdict Form. Otherwise, go to the next question. If you answer
                                                                          3   “No” as to only some Alleged Trade Secret(s), then you should ignore those Alleged Trade
                                                                          4   Secret(s) for the rest of this form.
                                                                          5
                                                                          6           4.      As to any defendant marked “Yes” in the previous answer and as to all enforcible
                                                                          7   Alleged Trade Secrets disclosed or used by that defendant, state whether Waymo has proven both
                                                                          8   that such misappropriation unjustly enriched that defendant and that its misappropriation was a
                                                                          9   substantial factor in unjustly enriching that defendant.
                                                                         10                                                              YES                  NO
                                                                         11                   UBER TECHNOLOGIES, INC.               __________            __________
United States District Court
                               For the Northern District of California




                                                                         12
                                                                                              OTTOMOTTO, LLC                        __________            __________
                                                                         13
                                                                         14                   OTTO TRUCKING, LLC                    __________            __________
                                                                         15
                                                                         16           If you answered “No” to all applicable defendants, then you are done and should go to
                                                                         17   the end and sign and date the Special Verdict Form. Otherwise, go to the next question.
                                                                         18
                                                                         19           5.      As to any defendant marked “Yes” in Question No. 4, state the dollar amount by
                                                                         20   which Waymo has proven that any such defendant was unjustly enriched by reason of its
                                                                         21   misappropriation of enforcible trade secrets.
                                                                         22
                                                                         23                   UBER TECHNOLOGIES, INC.               $_______________
                                                                         24
                                                                                              OTTOMOTTO, LLC                        $_______________
                                                                         25
                                                                         26                   OTTO TRUCKING, LLC                    $_______________
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                                                                          1          6.      As to any defendant marked “Yes” in Question No. 4, state the number of days
                                                                          2   saved in its development timeline by such defendant by reason of its misappropriation of
                                                                          3   enforcible trade secrets.
                                                                          4                                                       NUMBER OF DAYS
                                                                          5
                                                                                             UBER TECHNOLOGIES, INC.              _______________
                                                                          6
                                                                          7                  OTTOMOTTO, LLC                       _______________
                                                                          8
                                                                                             OTTO TRUCKING, LLC                   _______________
                                                                          9
                                                                         10
                                                                                             [NOTE  TO COUNSEL: THE PURPOSE OF THIS TENTATIVE
                                                                         11
United States District Court




                                                                                             QUESTION IS TO FACILITATE AN INJUNCTION SHUTTING DOWN
                                                                                             WORK ON UBER’S LIDAR DEVELOPMENT IN THE EVENT AN
                               For the Northern District of California




                                                                         12                  INJUNCTION IS WARRANTED. THE JURY’S ANSWER COULD
                                                                                             INFORM US AS TO THE APPROXIMATE LENGTH OF THE
                                                                         13                  SHUTDOWN IN ORDER TO TAKE AWAY ANY UNJUST ENRICHMENT
                                                                                             BY REASON OF A SHORTENED PATH OF DEVELOPMENT.]
                                                                         14
                                                                         15
                                                                                     7.      As to any defendant marked “Yes” in Question No. 4, has Waymo proven that said
                                                                         16
                                                                              defendant(s) acted willfully and maliciously in misappropriating any enforcible Alleged Trade
                                                                         17
                                                                              Secret(s)? If “Yes,” state the dollar amount of any exemplary damages you award.
                                                                         18
                                                                         19                                         YES             NO              AMOUNT
                                                                         20
                                                                                     UBER TECHNOLOGIES, INC.       _______        _______       $______________
                                                                         21
                                                                         22          OTTOMOTTO, LLC                _______        _______       $______________
                                                                         23
                                                                                     OTTO TRUCKING, LLC            _______        _______       $______________
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                                                                              Case 3:17-cv-00939-WHA Document 2010 Filed 10/17/17 Page 13 of 13



                                                                          1            Your answer to all of the foregoing questions must be unanimous.
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                                                                          3
                                                                          4
                                                                          5   Dated:
                                                                                                                                        FOREPERSON
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United States District Court
                               For the Northern District of California




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